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 DEFENDANT: Gary Alan Conor
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                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
     40 months as to Count One of the Indictment filed on March 11, 2020.




       ✔
       G    The court makes the following recommendations to the Bureau of Prisons:

     That the defendant be placed at FCI Oxford if commensurate with his security and classification needs.



       ✔ The defendant is remanded to the custody of the United States Marshal.
       G

       G The defendant shall surrender to the United States Marshal for this district:
            G at                                     G a m.      G p m.       on

            G as notified by the United States Marshal.

       G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before                  on

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

 a                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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